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 1                                                          JUDGE RONALD B. LEIGHTON
 2

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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT TACOMA
 7
     UNITED STATES OF AMERICA,                )      NO. CR06-5350RBL
 8                                            )
                  Plaintiff,                  )
 9                                            )      ORDER GRANTING STIPULATED
                  vs.                         )      MOTION TO CONTINUE TRIAL
10                                            )      DATE AND PRETRIAL MOTIONS
     JOSE LUIS CAMPOS,                        )      DUE DATE
11 CARLOS ROMALLIS DANIELS, and               )
     MIGUEL ANGEL PERALTA                     )
12 ALONZO,                                    )
                                              )
13                Defendants.                 )
                                              )
14

15         Based on the stipulated motion of the parties to continue the trial date, and the
16 affidavit of defense counsel in support of the motion, the Court makes the following

17 findings of fact and conclusions of law:

18         1. The ends of justice served by granting this continuance outweigh the best
19 interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(8)(A).

20         2. Proceeding to trial absent adequate time for the defense to prepare would
21 result in a miscarriage of justice. 18 U.S.C. §3161(h)(8)(B)(i).

22         3. The defense needs additional time to explore issues of some complexity,
23 including all relevant issues and defenses applicable to the case, which would make it

24 unreasonable to expect adequate preparation for pretrial proceedings or for trial itself

25 within the time limits established by the Speedy Trial Act and currently set for this case.

26 18 U.S.C. § 3161(h)(8)(B(ii).

     ORDER GRANTING STIPULATED MOTION                                   FEDERAL PUBLIC DEFENDER
                                                                                      1331 Broadway, Ste. 400
     TO CONTINUE TRIAL DATE & PTM’s DUE DATE        1                             Tacoma, Washington 98402
     CR06-5350RBL                                                                             (253) 593-6710
          Case 3:06-cr-05350-RBL       Document 34           Filed 07/06/06   Page 2 of 2



 1         4. Taking into account the exercise of due diligence, a continuance is necessary
 2 to allow the defendant the reasonable time for effective preparation his defense. 18

 3 U.S.C. § 3161(h)(8)(B)(iv).

 4         NOW, THEREFORE,
 5         IT IS HEREBY ORDERED that the trial date is continued from July 24, 2006 to
 6 October 30, 2006, at 9:00 am. The resulting period of delay from July 24, 2006, to

 7 October 30, 2006, is hereby excluded for speedy trial purposes under 18 U.S.C. §

 8 3161(h)(8)(A) and (B).

 9         Pre-trial motions are due no later than August 27, 2006.
10         Pretrial Motion Hearing, if needed, shall be on October 12, 2006, at 9:00 am.
11

12

13
                                             A
           IT IS SO ORDERED this 6th day of July, 2006.
                                             RONALD B. LEIGHTON
                                             UNITED STATES DISTRICT JUDGE
14 Presented By:

15

16 /s/                                                 /s/
17 Russell V. Leonard                                  Matthew H. Thomas
     Attorney for Mr. Campos                           Assistant United States Attorney
18

19
   /s/_____________________________                    /s/______________________________
20 Phil I. Brennan, Jr.                                John J. Kannin, IV
   Attorney for Mr. Peralta Alonzo                     Attorney for Mr. Daniels
21

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24

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     ORDER GRANTING STIPULATED MOTION                                     FEDERAL PUBLIC DEFENDER
                                                                                       1331 Broadway, Ste. 400
     TO CONTINUE TRIAL DATE & PTM’s DUE DATE       2                               Tacoma, Washington 98402
     CR06-5350RBL                                                                              (253) 593-6710
